UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA

)
)
V. ) Case No. 18 CR 130
)
)

BRET NAGGS
VERDICT

We, the jury find as follows with respect to the charges against the defendant,

BRET NAGGS:
NOT GUILTY GUILTY

COUNT ONE: it o
COUNT TWO: mf o
COUNT SIX: wt O
COUNT SEVEN: ral O
COUNT EIGHT: ne a
COUNT TEN: w O
COUNT ELEVEN: ue o
COUNT TWELVE: aK O
COUNT FOURTEEN at O
COUNT FIFTEEN: | qo

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